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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO. 9:22cv80915

 RACHEL MOCHAN,
 individually and
 on behalf of all others similarly situated,                      CLASS ACTION

         Plaintiff,                                               JURY TRIAL DEMANDED

 v.


 MADISON REED, INC. ,

       Defendant.
 ________________________________________/

                                    CLASS ACTION COMPLAINT

         Plaintiff Rachel Mochan brings this class action against Defendant MADISON REED, INC. ,

 and alleges as follows upon personal knowledge as to Plaintiff and Plaintiff’s own acts and experiences,

 and, as to all other matters, upon information and belief, including investigation conducted by Plaintiff’s

 attorneys.

                                      NATURE OF THE ACTION

         1.      This is a putative class action pursuant to the Telephone Consumer Protection Act,

 47 U.S.C. §§ 227, et seq. (the “TCPA”), and the Florida Telephone Solicitation Act (“FTSA”),

 Fla. Stat. § 501.059.

         2.      To promote its goods and services, Defendant engages in unsolicited text

 messaging to those who have not provided Defendant with their prior express written consent as

 required by the FTSA.

         3.      Defendant also engages in telemarketing without the requisite policies and

 procedures and training required under the TCPA and its implementing regulations.

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        4.      Defendant’s telephonic sales calls have caused Plaintiff and the Class members

 harm, including violations of their statutory rights, statutory damages, annoyance, nuisance, and

 invasion of their privacy.

        5.      Through this action, Plaintiff seeks an injunction and statutory damages on behalf

 of Plaintiff and the Class members, as defined below, and any other available legal or equitable

 remedies resulting from the unlawful actions of Defendant.

                                              PARTIES

        6.      Plaintiff is, and at all times relevant hereto was, a citizen and resident of Palm Beach

 County, Florida.

        7.      Plaintiff is, and at all times relevant hereto was, an individual and a “called party”

 as defined by Fla. Stat. § 501.059(1)(a) in that Plaintiff was the regular user of cellular telephone

 number that received Defendant’s telephonic sales calls.

        8.      Defendant is, and at all times relevant hereto was, a foreign corporation and a

 “telephone solicitor” as defined by Fla. Stat. § 501.059(f).

                                  JURISDICTION AND VENUE

        9.      This Court has federal question subject matter jurisdiction over Plaintiff’s TCPA

 claims pursuant to 28 U.S.C. § 1331.

        10.     This Court has supplemental jurisdiction over Plaintiff’s FTSA claims pursuant to

 28 U.S.C. § 1367.

        11.     Defendant is subject to personal jurisdiction in Florida because this suit arises out

 of and relates to Defendant’s contacts with this state.          Defendant initiated and directed

 telemarketing and/or advertising text messages into Florida. Specifically, Defendant initiated and

 directed the transmission of unsolicited advertisement or telemarketing text messages to Plaintiff’s



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 cellular telephone number to sell goods, services or products in Florida. Plaintiff’s telephone

 number has an area code that specifically coincides with locations in Florida, and Plaintiff received

 such messages while residing in and physically present in Florida.

        12.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) because

 Defendant is deemed to reside in any judicial district in which it is subject to personal jurisdiction,

 and because a substantial part of the events or omissions giving rise to the claim occurred in this

 District

                                                FACTS

        13.     Commencing in on or about March 17, 2022, Defendant sent telephonic sales call

 to Plaintiff’s cellular telephone number, including the following:




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        14.     As demonstrated by the above screenshots, the purpose of Defendant’s telephonic

 sales call was to solicit the sale of consumer goods and/or services.

        15.     As demonstrated by the above screenshots, when it sent its text message

 solicitations to Plaintiff, Defendant failed to identify (1) the name of the individual caller; (2) the

 name of the legal entity on whose behalf the call was being made; and (3) a telephone number or

 address at which Defendant may be contacted.

        16.     Plaintiff is the regular user of the telephone number that received the above

 telephonic sales calls.

        17.     Plaintiff utilizes the cellular telephone number for personal purposes and the

 number is Plaintiff’s residential telephone line.

        18.     Plaintiff was in Florida when Plaintiff received the above text message call, and

 Defendant’s violative conduct occurred in substantial part in Florida.

        19.     Upon information and belief, Defendant maintains and/or has access to outbound

 transmission reports for all text messages sent advertising/promoting its services and goods. These

 reports show the dates, times, target telephone numbers, and content of each message sent to

 Plaintiff and the Class members.

        20.     To transmit the above telephonic sales text message call, Defendant utilized a

 computer software system that automatically selected and dialed Plaintiff’s and the Class

 members’ telephone numbers.

        21.     The number used by Defendant to transmit the subject text message solicitations

 (67094) is known as a “short code.” Short codes are short digit sequences, shorter than telephone

 numbers, that are used to address messages in the Multimedia Messaging System and short

 message service systems of mobile network operators.



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         22.     Text messages using a short code can only be sent using a computer, and cannot be

 sent using a standard telephone.

         23.     The impersonal and generic nature of Defendant’s text message and the fact that it

 originated from a short-code demonstrates that Defendant utilized a computer software system that

 automatically selected and dialed Plaintiff’s and the Class members’ telephone numbers.

         24.     To send the text messages, Defendant used a messaging platform (the “Platform”),

 which permitted Defendant to transmit blasts of text messages automatically and without any

 human involvement. The Platform automatically made a series of calls to Plaintiff’s and the Class

 members’ stored telephone numbers with no human involvement after the series of calls were

 initiated utilizing the Platform.

         25.     Defendant was not required to and did not need to utilize the Platform to send

 messages to Plaintiff and the Class members. Instead, Defendant opted to use the Platform to

 maximize the reach of its text message advertisements at a nominal cost to Defendant.

         26.     Defendant would be able to conduct its business operations without sending

 automated text messages to consumers.

         27.     Defendant would be able to send automated text messages to consumers, and in

 compliance with the FTSA, by securing the proper consent from consumers prior to sending text

 messages.

         28.     Defendant would be able to send text messages to consumers without consent by

 utilizing a non-automated text messaging system.

         29.     Accordingly, it is not impossible for Defendant to comply with the FTSA in the

 context of transmitting text messages.




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        30.     The burden and cost to Defendant of securing consent from consumers that

 complies with the FTSA is nominal.

        31.     Compliance with the FTSA will not result in Defendant having to cease its business

 operations.

        32.     Compliance with the FTSA will not result in Defendant having the alter the prices

 of any goods or services it provides in the marketplace.

        33.     Compliance with the FTSA will not force Defendant to seek regulatory approval

 from the State of Florida before undertaking any type of commercial transaction.

        34.     Because a substantial part of Defendant’s FTSA violations occurred in Florida,

 requiring Defendant’s compliance with the FTSA will not have the practical effect of regulating

 commerce occurring wholly outside of Florida.

        35.     The Platform has the capacity to select and dial numbers automatically from a list

 of numbers, which was in fact utilized by Defendant.

        36.     The Platform has the capacity to schedule the time and date for future transmission

 of text messages, which was in fact utilized by Defendant.

        37.     The Platform also has an auto-reply function that results in the automatic

 transmission of text messages.

        38.     Plaintiff never provided Defendant with express written consent authorizing

 Defendant to transmit telephonic sales calls to Plaintiff’s cellular telephone number utilizing an

 automated system for the selection and dialing of telephone numbers.

        39.     More specifically, Plaintiff never signed any type of authorization permitting or

 allowing the placement of a telephonic sales call by text message using an automated system for

 the selection and dialing of telephone numbers.



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        40.     Since July 1, 2021, on information and belief, Defendant sent at least 50 text

 message solicitations to as many consumers in Florida.

        41.     Defendant’s failure to (1) identify the individual caller, (2) identify the legal name

 of the entity calling, and (3) identify a telephone number or address at which the caller may be

 contacted, caused Plaintiff and the Class members harm because they were not informed as to who

 was sending them unsolicited calls.

        42.     Defendant’s telephonic sales calls caused Plaintiff and the Class members harm,

 including statutory damages, inconvenience, invasion of privacy, aggravation, annoyance, and

 violation of their statutory privacy rights.

                                       CLASS ALLEGATIONS

        PROPOSED CLASSES

        43.     Plaintiff brings this lawsuit as a class action on behalf of Plaintiff individually and

 on behalf of all other similarly situated persons as a class action pursuant to Federal Rule of Civil

 Procedure 23. The Classes that Plaintiff seeks to represent are defined as:

                FTSA Class: All persons in Florida who, (1) were sent a telephonic
                sales call regarding Defendant’s property, goods, and/or services,
                (2) using the same equipment or type of equipment utilized to call
                Plaintiff.

                Seller Identification Class: All persons within the United States
                who, within the four years prior to the filing of this Complaint
                through the date of class certification, (1) received two or more
                text messages within any 12-month period, (2) regarding
                Defendant’s property, goods, and/or services, (3) to said
                person’s residential telephone number, (4) that did not disclose
                the name of the individual caller, the name of the person or entity
                on whose behalf the call is being made, or a telephone number or
                address at which the person or entity may be contacted.

        44.     Defendant and its employees or agents are excluded from the Class.




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        NUMEROSITY

        45.     Upon information and belief, Defendant has placed telephonic sales calls to

 telephone numbers belonging to at least 50 persons. The members of the Class, therefore, are

 believed to be so numerous that joinder of all members is impracticable.

        46.     The exact number and identities of the Class members are unknown at this time and

 can be ascertained only through discovery. Identification of the Class members is a matter capable

 of ministerial determination from Defendant’s call records.

        COMMON QUESTIONS OF LAW AND FACT

        47.     There are numerous questions of law and fact common to the Classes which

 predominate over any questions affecting only individual members of the Classes. Among the

 questions of law and fact common to the Class are: [1] Whether Defendant initiated telephonic

 sales calls to Plaintiff and the Class members; [2] Whether Defendant can meet its burden of

 showing that it had prior express written consent to make such calls; [3] Whether Defendant is

 liable for damages, and the amount of such damages; and [4] Whether Defendant properly

 identified itself in its solicitations as required under the TCPA.

        48.     The common questions in this case are capable of having common answers. If

 Plaintiff’s claim that Defendant routinely transmits telephonic sales calls without prior express

 written consent is accurate, Plaintiff and the Class members will have identical claims capable of

 being efficiently adjudicated and administered in this case.

        TYPICALITY

        49.     Plaintiff’s claims are typical of the claims of the Class members, as they are all

 based on the same factual and legal theories.

        PROTECTING THE INTERESTS OF THE CLASS MEMBERS

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           50.   Plaintiff is a representative who will fully and adequately assert and protect the

 interests of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate

 representative and will fairly and adequately protect the interests of the Class.

           SUPERIORITY

           51.   A class action is superior to all other available methods for the fair and efficient

 adjudication of this lawsuit because individual litigation of the claims of all members of the Class

 is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

 by the Class are in the millions of dollars, the individual damages incurred by each member of the

 Class resulting from Defendant’s wrongful conduct are too small to warrant the expense of

 individual lawsuits. The likelihood of individual Class members prosecuting their own separate

 claims is remote, and, even if every member of the Class could afford individual litigation, the

 court system would be unduly burdened by individual litigation of such cases.

           52.   The prosecution of separate actions by members of the Class would create a risk of

 establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For

 example, one court might enjoin Defendant from performing the challenged acts, whereas another

 may not. Additionally, individual actions may be dispositive of the interests of the Class, although

 certain class members are not parties to such actions.

                                            COUNT I
                             VIOLATION OF FLA. STAT. § 501.059
                            (On Behalf of Plaintiff and the FTSA Class)

           53.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           54.   It is a violation of the FTSA to “make or knowingly allow a telephonic sales call to

 be made if such call involves an automated system for the selection or dialing of telephone numbers



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  or the playing of a recorded message when a connection is completed to a number called without

  the prior express written consent of the called party.” Fla. Stat. § 501.059(8)(a).

          55.     A “telephonic sales call” is defined as a “telephone call, text message, or voicemail

  transmission to a consumer for the purpose of soliciting a sale of any consumer goods or services,

  soliciting an extension of credit for consumer goods or services, or obtaining information that will

  or may be used for the direct solicitation of a sale of consumer goods or services or an extension

  of credit for such purposes.” Fla. Stat. § 501.059(1)(i).

          56.     “Prior express written consent” means an agreement in writing that:

                  1. Bears the signature of the called party;

                  2. Clearly authorizes the person making or allowing the placement of a telephonic
                     sales call by telephone call, text message, or voicemail transmission to deliver
                     or cause to be delivered to the called party a telephonic sales call using an
                     automated system for the selection or dialing of telephone numbers, the playing
                     of a recorded message when a connection is completed to a number called, or
                     the transmission of a prerecorded voicemail;

                  3. Includes the telephone number to which the signatory authorizes a telephonic
                     sales call to be delivered; and

                  4. Includes a clear and conspicuous disclosure informing the called party that:

                          a. By executing the agreement, the called party authorizes the person
                             making or allowing the placement of a telephonic sales call to deliver or
                             cause to be delivered a telephonic sales call to the called party using an
                             automated system for the selection or dialing of telephone numbers or
                             the playing of a recorded message when a connection is completed to a
                             number called; and

                          b. He or she is not required to directly or indirectly sign the written
                             agreement or to agree to enter into such an agreement as a condition of
                             purchasing any property, goods, or services.

  Fla. Stat. § 501.059(1)(g).

          57.     Defendant failed to secure prior express written consent from Plaintiff and the Class

  members.

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          58.     In violation of the FTSA, Defendant made and/or knowingly allowed telephonic

  sales calls to be made to Plaintiff and the Class members without Plaintiff’s and the Class

  members’ prior express written consent.

          59.     Defendant made and/or knowingly allowed the telephonic sales calls to Plaintiff

  and the Class members to be made utilizing an automated system for the selection and dialing of

  telephone numbers.

          60.     As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a) of the FTSA,

  Plaintiff and Class members were harmed and are each entitled to a minimum of $500.00 in

  damages for each violation. Plaintiff and the Class members are also entitled to an injunction

  against future calls. Id.

          61.     Plaintiff requests for this Court to enter an Order granting the relief outlined in the

  Prayer for Relief below.

                                              COUNT II
                        Injunctive Relief Pursuant to Fla. Stat. § 501.059(10)(a)
                             (On Behalf of Plaintiff and the FTSA Class)

          62.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

  53 as if fully set forth herein.

          63.     Pursuant to section 501.059(10)(a), Plaintiff seeks injunctive relief prohibiting

  Defendant’s unlawful conduct in the future to protect Plaintiff and the FTSA Class members from

  Defendant’s unsolicited calls and practices.

          64.     Defendant’s ongoing and continuing violations have caused, and in the absence of

  an injunction will continue to cause, harm to Plaintiff and the FTSA Class members.

          65.     Plaintiff and the FTSA Class members suffer irreparable harm if Defendant is

  permitted to continue its practice of violating the FTSA.



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          66.     The injuries that the Plaintiff and the FTSA Class members will suffer if Defendant

  is not prohibited from continuing to engage in the unlawful practices described herein far outweigh

  the harm that Defendant will suffer if it is enjoined from continuing this conduct.

          67.     The public interest will be served by an injunction prohibiting Defendant from

  continuing to engage in the unlawful practices described herein.

          68.     Accordingly, Plaintiff and the FTSA Class members seek an injunction requiring

  Defendant to implement policies and procedures to secure express written consent before engaging

  in any text message solicitations, and to follow such consent requirements.

          69.     Plaintiff requests for this Court to enter an Order granting the relief outlined in the

  Prayer for Relief below.

                                              COUNT III
                     Violations of 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d)
                      (On Behalf of Plaintiff and the Seller Identification Class)

          70.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

  53 as if fully set forth herein.

          71.     In pertinent part, 47 C.F.R. § 64.1200(d) provides:

                  (4) Identification of sellers and telemarketers. A person or entity
                  making a call for telemarketing purposes must provide the called party
                  with the name of the individual caller, the name of the person or entity
                  on whose behalf the call is being made, and a telephone number or
                  address at which the person or entity may be contacted. The telephone
                  number provided may not be a 900 number or any other number for
                  which charges exceed local or long distance transmission charges.

          72.     Pursuant to 47 C.F.R § 64.1200(e), the rules set forth in 47 C.F.R. § 64.1200(d) are

  applicable to any person or entity making telephone solicitations or telemarketing calls to wireless

  telephone numbers.




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          73.     Defendant violated the requirements of section 64.1200(d)(4) by failing to identify

  (1) the name of the individual caller; (2) the name of the legal entity on whose behalf the call was

  being made; and (3) a telephone number or address at which Defendant may be contacted.

          74.     Pursuant to section 227(c)(5) of the TCPA, Plaintiff and the IDNC Class members

  are entitled to an award of $500.00 in statutory damages, for each text message sent by Defendant.

  To the extent Defendant’s misconduct is determined to be willful and knowing, the Court should,

  pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages recoverable by the

  members of the IDNC Class.

          75.     Plaintiff requests for this Court to enter an Order granting the relief outlined in the

  Prayer for Relief below.

                                             COUNT IV
           Injunctive Relief Pursuant to 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d)
                     (On Behalf of Plaintiff and the Seller Identification Class)

          76.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

  53 as if fully set forth herein.

          77.     Pursuant to section 227(c)(5)(A), Plaintiff seeks injunctive relief prohibiting

  Defendant’s unlawful conduct in the future to protect Plaintiff and the Seller Identification Class

  members from Defendant’s unsolicited calls and practices.

          78.     Defendant’s ongoing and continuing violations have caused, and in the absence of

  an injunction will continue to cause, harm to Plaintiff and the Seller Identification Class members.

          79.     Plaintiff and the Seller Identification Class members suffer irreparable harm if

  Defendant is permitted to continue its practice of violating 47 C.F.R. § 64.1200(d).




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            80.       The injuries that the Plaintiff and the Seller Identification Class members will suffer

  if Defendant is not prohibited from continuing to engage in the unlawful practices described herein

  far outweigh the harm that Defendant will suffer if it is enjoined from continuing this conduct.

            81.       The public interest will be served by an injunction prohibiting Defendant from

  continuing to engage in the unlawful practices described herein.

            82.       Accordingly, Plaintiff and the Seller Identification Class members seek an

  injunction requiring Defendant to identify (1) the individual caller; (2) the legal name of the entity

  calling, and (7) a telephone number or address at which the caller may be contacted, whenever

  engaging in telephonic sales calls like the ones it sent to Plaintiff and the Seller Identification Class

  members.

            83.       Plaintiff requests for this Court to enter an Order granting the relief outlined in the

  Prayer for Relief below.



                                            PRAYER FOR RELIEF

            WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

  relief:


                  a) An order certifying this case as a class action on behalf of the Classes as defined above,

                      and appointing Plaintiff as the representative of the Classes and Plaintiff’s counsel as

                      Class Counsel;

                  b) An award of statutory damages for Plaintiff and each member of the Classes as

                      applicable under the FTSA and/or TCPA;

                  c) An order declaring that Defendant’s actions, as set out above, violate the FTSA and

                      TCPA;


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              d) Injunctive relief under the FTSA and TCPA as outlined above;

              e) Such further and other relief as the Court deems necessary.

                                             JURY DEMAND

          Plaintiff, individually and on behalf of the Class, hereby demand a trial by jury.

                               DOCUMENT PRESERVATION DEMAND

          Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

  databases or other itemization of telephone numbers associated with the communications or transmittal

  of the calls as alleged herein.



  DATED: June 22, 2022

                                                      Respectfully Submitted,

                                                      DAPEER LAW, P.A.

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